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                                            October 4, 2022

  Via ECF

  The Hon. Robert B. Kugler                              Special Master the Hon. Thomas Vanaskie
  United States District Judge                           Stevens & Lee
  USDC, District of New Jersey                           1500 Market Street, East Tower, 18th Floor
  Mitchell H. Cohen Building & U.S. Courthouse           Philadelphia, PA 19103
  4th & Cooper Streets, Room 1050
  Camden, NJ 08101

         Re:     In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                 USDC, District of New Jersey, No. 1:19-md-2875-RBK-KMW

  Dear Judge Kugler and Judge Vanaskie:

         I write on behalf of the Defendants’ Executive Committee to provide Defendants’ positions

  with respect to the topics on the agenda for the conference with the Court on Thursday, October

  6, 2022. Defendants do not anticipate that any of the items on the agenda will require

  confidentiality.

     1. Update on Motion to Seal re: Class Certification Briefing Exhibits

         The parties continue to work cooperatively and are actively engaged in the meet-and-confer

  process to evaluate and negotiate the confidentiality of documents filed in connection with class

  certification briefing, including the Rule 702 briefs on class certification experts. The parties have

  made ample progress and have agreed that a large number of materials filed initially with

  confidentiality treatment can be de-designated and refiled for public disclosure, or filed with

  redactions where appropriate instead of under seal. Given the large volume of materials, the parties

  continue to work through those documents and anticipate completing that process within the next
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  month. At that point, the parties will have an idea of how many documents remain in dispute and

  need to be briefed in a motion to seal. The parties anticipate that they will be in a position to

  propose a briefing schedule by the next case management conference.

      2. Losartan/Irbesartan Core Discovery Status Report

              A. Aurobindo

          The Aurobindo Defendants have conferred with Plaintiffs by email and phone. They have

  supplemented their existing production of documents with a rolling production of additional

  production volumes in recent weeks. These production volumes contained the irbesartan DMF,

  irbesartan ANDAs, responsive nitrosamine test results, and responsive FDA communications.

  Additional productions are forthcoming.

              B. Hetero

          Hetero has satisfied its core discovery production obligations, with the exception of the

  ANDA documents. Hetero intends to have those documents produced by October 12, 2022, before

  the October 17, 2022, deadline.

              C. Teva

          On September 23, 2022, Teva produced all material responsive to the Core Discovery

  Order for Losartan and Irbesartan (ECF No. 2132), subparagraph 6.b.i, consisting of Teva’s

  ANDA files for all finished dose formulations marketed or intended to be marketed in the United

  States at any time prior to the losartan recalls at issue.1 Teva is finalizing its production of material



  1 This production is subject to Teva’s Reservation of Rights which was served contemporaneously

  therewith, and further reservations identified in Teva’s accompanying transmittal letter.
  Production of these ANDAs does not represent any admission that said documents are relevant or
  admissible.
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  responsive to subparagraph 6.b.iv and paragraph 8, consisting of all nitrosamine test results for

  involved products and sales and pricing data, which will be produced this week. Teva does not

  anticipate requiring further time to collect and produce the remaining material responsive to

  subparagraph 6.b.ii by the October 17, 2022 deadline, and will meet and confer with Plaintiffs’

  counsel promptly should any issues arise.

             D. Torrent

         Torrent Pharmaceuticals Ltd. and Torrent Pharma, Inc. (collectively “Torrent”) completed

  production of Losartan Core Discovery on Monday, September 26, 2022. Torrent does not

  anticipate making any further productions in connection with Core Discovery.

             E. ZHP

         ZHP and plaintiffs met and conferred last week about testing documents for batches of

  non-US grade losartan and irbesartan, and the ZHP Defendants subsequently provided additional

  information for plaintiffs to consider. The ZHP Defendants hope to further discuss this information

  with plaintiffs next week and, if the parties are unable to reach an agreement, the ZHP Defendants

  anticipate briefing this issue with the Court in advance of the next conference. To the extent the

  Court requires the ZHP Defendants to produce additional testing material, the ZHP Defendants

  will request 60 days from such an order to complete production.

     3. Case Management Issues for the Third-Party Payor (“TPP”) Trial

         The parties have met and conferred multiple times since the last Case Management

  Conference and have narrowed their differences with respect to the TPP Trial. The parties agree

  the plaintiff in the TPP Trial will be MSPRC as assignee of the claims of one or more of its
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  Medicare Advantage Organization (“MAO”) assignors, and the defendants will be ZHP, Teva, and

  Torrent. The parties have also made progress on case-specific discovery topics.

         Two issues are currently ripe for the Court’s consideration. First, the parties have reached

  an impasse on three case-specific discovery requests relating to the damages claimed by MSPRC,

  and Defendants seek the Court’s determination of these disputes. Second, MSPRC proposes to try

  the claims of two MAO assignors, EmblemHealth and SummaCare, and have taken the position

  that the MAO assignors’ claims encompass the law of 16 states for EmblemHealth and 6 states for

  SummaCare. Defendants disagree with Plaintiffs’ analysis of the governing law and have proposed

  briefing the issue and obtaining the Court’s prompt guidance to finalize the state law claims at

  issue for trial. Plaintiffs agree with the need to obtain the Court’s guidance, but disagree with

  Defendants’ proposed timing and seek to defer consideration of the matter until after the Court

  rules on class certification—even though the Court has repeatedly made clear the TPP trial will

  not be a class trial. We address each issue in turn.

             A. Case-Specific Fact Discovery

         Defendants proposed ten categories of case-specific fact discovery to Plaintiffs by letter

  dated September 1, 2022, a copy of which is attached hereto as Exhibit A. The parties discussed

  the proposed categories during a meet-and-confer call on September 12, 2022. By follow-up letter

  to Plaintiffs’ counsel dated September 23, 2022, Defendants memorialized the resolutions reached

  during the September 12 meet-and-confer with respect to seven of the ten categories, identified

  three categories on which the parties are at an impasse, and served a set of nine document requests

  based on the parties’ discussions. Defendants also asked Plaintiffs to indicate whether any other

  case-specific discovery disputes remain outstanding, and to indicate when MSPRC could complete
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  production of the documents it had agreed to produce. A copy of Defendants’ September 23 letter

  and the accompanying document requests is attached hereto as Exhibit B.

         In follow-up meet-and-confer calls on September 30, 2022 and October 3, 2022,

  Defendants again asked Plaintiffs to state when they could complete their production. On the

  afternoon of October 4, 2022, shortly before the parties’ position statements were due, MSPRC’s

  counsel sent a letter stating that MSPRC proposes producing responsive documents “on a rolling

  basis to be completed by December 6, 2022,” which is just 16 days before Defendants’ expert

  reports are due. MSPRC’s letter confirmed the parties are at an impasse on the three requests

  discussed below, raised several new issues, and indicated MSPRC is available to meet and confer

  on the new issues. Defendants reserve their right to raise additional concerns regarding the

  proposed production date and MSPRC’s new issues following an opportunity to meet and confer

  with MSPRC on these matters.

         Defendants further request that the Court resolve the parties’ dispute with respect to the

  three categories of document requests for which the parties are at an impasse. They are:

         2.      Subsidy, Reimbursement, and Rebate Data: TPP Plaintiff shall produce in Excel
                 format data reflecting all subsidies, reimbursements, and rebates received by TPP
                 Plaintiff from Center for Medicare and Medicaid Services (“CMS”), including but
                 not limited to all prescription drug event (“PDE”) reports and all PDE payment
                 records reflecting reimbursement requests and payments for valsartan drugs, during
                 the time period for which TPP Plaintiff is seeking damages (the “Relevant Time
                 Period”).

         3.      CMS [Centers for Medicare & Medicaid Services] Bids: TPP Plaintiff shall
                 produce all materials submitted in connection with its bid submissions to CMS as
                 a sponsor for Medicare Part D prescription drug plans for each of the contract years
                 that correspond with the Relevant Time Period.

         4.      Internal Reporting: TPP Plaintiff shall produce any internal reporting analyzing
                 or reflecting projections and actual spend on Part D prescription drugs during the
                 Relevant Time Period.
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  (Ex. A at 2.) Plaintiffs object to all three categories in their entirety as irrelevant and have indicated

  that MSPRC will not produce any documents responsive to the corresponding requests.

          Defendants are entitled to production of the requested documents, which are highly

  relevant to the TPP Trial. Each of these categories pertains to the same issues—the calculation of

  MSPRC’s alleged damages and Defendants’ refutation of MSPRC’s damages calculation.

  Plaintiffs have previously asserted, primarily through the declaration of their economist, Dr. Rena

  Conti, that TPPs like MSPRC’s assignors, EmblemHealth and SummaCare, are entitled to recover

  the full purchase price of each valsartan-containing drug paid at the point of sale, excluding only

  the copay/coinsurance amount paid by consumers. (See ECF No. 1749-2 [Conti Dec.] ¶ 61.)

  Defendants disagree. EmblemHealth and SummaCare are MAOs, meaning they receive substantial

  government subsidies paying for or reimbursing significant portions of the amounts paid on behalf

  of plan beneficiaries for prescription drug purchases. Applicable authority establishes that a TPP

  is not entitled to recover amounts it did not pay or for which it was reimbursed, and that

  government subsidies and reimbursements must be set off against the TPP’s asserted damages. As

  the Southern District of New York recently explained in the context of a TPP claim seeking

  economic loss damages for amounts paid or reimbursed by the TPP plaintiff for a prescription drug

  at allegedly anticompetitive prices:

          Any benefits, including discounts or subsidies, that flowed to a plaintiff must be used to
          reduce the amount of damages suffered by that plaintiff. Therefore, as a matter of law, to
          the extent [TPP] Class Members receive any form of payment that covers all of part of its
          memantine prescription costs, those payments must be deducted from damages. This is not
          even a close question - subsidies, of all forms, are a damages set off and the jury (assuming
          we have a jury trial on damages) will be so instructed.

  In re Namenda Indirect Purchaser Antitrust Litig., No. 1:15-cv-6549 (CM) (RWL), 2022 U.S.

  Dist. LEXIS 149561, at *37 (S.D.N.Y. Aug. 15, 2022) (emphasis added). The question of whether
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  MSPRC is seeking recovery for damages beyond its assignors’ actual losses by failing to set off

  subsidies, reimbursements, and rebates is thus fair game for discovery and trial.

         All three of the disputed categories of discovery requests are necessary to evaluate and

  challenge Plaintiffs’ damages methodology. Defendants contend that MSPRC is seeking damages

  on behalf of its MAO assignors in excess of the amounts EmblemHealth and SummaCare actually

  paid for the valsartan-containing drugs at issue, and has not properly accounted for or set off

  payments and subsidies that flowed to EmblemHealth and SummaCare from the government for

  their prescription drug purchases. To test Plaintiffs’ damages methodology and to develop their

  defense, Defendants are entitled to conduct discovery into the MAOs’ subsidy, reimbursement,

  and rebate data, their bids to CMS (which contain information regarding the MAOs’ expected

  versus actual prescription drug expenditures during the relevant time period under Medicare Part

  D), and their internal reporting analyzing their actual spend on Part D prescription drugs—all of

  which are reasonably likely to provide insight into the MAOs’ actual out-of-pocket expenditures

  on the at-issue valsartan-containing drugs, versus the amounts incurred or reimbursed by the

  government, for which MSPRC cannot recover damages.

         In addition to their unsupportable relevance objections, Plaintiffs further object to Category

  2 on the grounds that MSPRC has only “aggregate data” available regarding EmblemHealth’s and

  SummaCare’s payments, reimbursements, and rebates, and that CMS does not make direct

  payments for valsartan-containing drugs. At the outset, it is unclear why that is so. MSPRC or its

  assignors should have access to itemized Prescription Drug Event (“PDE”) data, reports, and file

  submissions, in addition to aggregate reconciliations of PDE data. Regardless, even if only

  aggregate data are available and assuming CMS does not make direct payments for valsartan-
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  containing drugs, that is of no consequence to Defendants’ right to discovery of these materials.

  Evaluating the TPPs’ aggregate data and determining the portion of the aggregate payments and

  reimbursements allocable to the purchase or reimbursement of valsartan-containing drugs is a

  matter for expert inquiry and, ultimately, a question of fact for the jury. As the court explained in

  In re Namenda, the “complex set of coverages and reimbursements” to be taken into account in

  performing a TPP’s damages calculation, including “how much of the cost” of the prescription

  drug “ends up being borne by the Government” rather than the plaintiff, is a matter on which

  experts may disagree and—if their methods are reliable—is “a question of fact for the trier of

  fact[.]” 2022 U.S. Dist. LEXIS 149561, at *38-39. The subsidy, reimbursement, and rebate data

  Defendants seek are available in standardized data, reports, and submissions generated by or

  available to all MAOs through CMS. Accordingly, Plaintiffs should be compelled to produce the

  requested data.

         Plaintiffs object to Categories 3 and 4 on the grounds that the MAOs’ expected drug

  expenditures have no bearing on whether the valsartan-containing drugs they paid for were

  “adulterated and worthless.” That self-serving reference to Plaintiffs’ own theory of liability

  misses the point. The requested CMS bids and internal reporting are relevant to damages,

  specifically, the amounts actually expended by the MAOs on valsartan-containing drugs versus

  the amounts paid for or reimbursed by CMS for which Plaintiffs cannot recover. Plaintiffs further

  object to Categories 3 and 4 on the grounds that the requested CMS bids and internal reporting are

  proprietary. That is not a proper basis for withholding discovery under Rule 26(b)(1); the

  Confidentiality and Protective Order in this case permits proprietary information to be designated

  as confidential in order to prevent improper disclosure. Defendants have produced numerous
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  proprietary documents in accordance with the Confidentiality and Protective Order, and Plaintiffs

  can certainly do the same.

         Because Defendants’ discovery requests are clearly relevant, and MSPRC has presented

  no valid basis to withhold production, the Court should compel MSPRC to produce data, reports,

  and other documents responsive to each of Defendants’ requests, corresponding to Defendants’

  Requests for Production 2, 3, and 4.

             B. Determination of Governing Law for TPP Trial

         During the parties’ meet-and-confer call on September 30, 2022, Plaintiffs proposed to try

  the assigned claims of both EmblemHealth and Summacare at the TPP Trial, and further expressed

  their view that a trial of EmblemHealth’s and Summacare’s claims would involve applying the

  separate laws of each state where the plan beneficiaries made their valsartan purchases, which

  (according to Plaintiffs) would be 16 states for EmblemHealth and 6 states for Summacare. After

  evaluating Plaintiffs’ position, Defendants responded by letter on October 2, 2022, a copy of which

  is attached hereto as Exhibit C. Defendants disagreed with Plaintiffs’ position that the law of the

  state of each plan beneficiary’s purchase governs the TPP Plaintiffs’ claims. Defendants indicated

  that, although each claim by each assignor must be analyzed separately under governing conflicts

  of law principles, and the analyses are multi-factorial and complex, Defendants believe most if not

  all of the TPP Plaintiffs’ claims are ultimately likely to be governed by the law of each TPP

  Plaintiff’s home state and the state where each TPP Plaintiff paid for and/or reimbursed each

  valsartan purchase, i.e., New York for EmblemHealth and Ohio for Summacare. See In re Actiq

  Sales & Mktg. Practices Litig., 307 F.R.D. 150, 167 (E.D. Pa. 2015) (concluding unjust enrichment

  laws of TPPs’ home states apply because “the parties’ relationship was centered there” and
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  “payments for Actiq prescriptions originated in TPPs’ home states”); In re K-Dur Antitrust Litig.,

  Civil Action No. 01-1652 (JAG), 2008 U.S. Dist. LEXIS 113310, at *27-28 (D.N.J. Mar. 19, 2008)

  (finding the “state with the greatest interest in a TPP’s claims brought on its own behalf is the state

  where the TPP has its principal place of business and from which it presumably paid”).

          Given the importance of this issue, Defendants proposed that the parties obtain a

  simultaneous briefing schedule from the Court to determine: (1) which state’s or states’ laws

  govern the TPP Plaintiffs’ substantive claims; and (2) which of these state law claims will be heard

  and decided at the first TPP Trial. Defendants proposed the parties file simultaneous briefs on

  these issues by October 27, 2022. At the parties’ follow-up meet-and-confer call on October 3,

  2022, Plaintiffs agreed that the conflicts of law issues are multi-factorial and complex, and agreed

  it will ultimately be necessary to obtain the Court’s guidance. They disagreed with Defendants’

  proposed timing, however, and asserted the Court’s pending class certification ruling may provide

  guidance on this issue. Plaintiffs proposed to postpone briefing the questions of governing law and

  which states’ laws will be heard and decided at the TPP Trial until after the Court rules on class

  certification.

          Defendants respectfully submit that prompt resolution of all conflicts of law questions for

  the TPP Trial is necessary and desirable. At the outset, Plaintiffs’ position is at odds with this

  Court’s prior choice of law analysis in MTD Opinion 4. (See ECF No. 818 at 9-12.) There, the

  Court ultimately concluded that irrespective of the specific conflicts of law test applied, for all

  plaintiffs and all claims “the answer remains the same: the law of the plaintiffs’ home state should

  apply.” (Id. at 11.) Thus, by this Court’s prior ruling, the law of each MAO assignor’s home state

  (New York for EmblemHealth and Ohio for SummaCare) governs its claims. To the extent
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  Plaintiffs assert that this Court’s prior determination is inapplicable to MSPRC or the TPP Trial,

  it is incumbent upon Plaintiffs to justify their departure from the law of the case. And the

  disagreement is best brought to a prompt resolution so that time and resources are not consumed

  preparing for state law claims that are not at issue in the TPP Trial and Defendants are not

  prejudiced by Plaintiffs’ efforts to expand the scope of the TPP Trial to claims outside of the

  assignors’ home states.

          Moreover, whether the TPP Trial will encompass claims under the laws of 2 states or 22

  states is a question of significant consequence with respect to the claims at issue, the elements of

  liability to be assessed through fact and expert discovery, the measures of damages to be evaluated

  by damages experts, and the jury instructions to be given. Orderly preparation for and

  administration of the TPP Trial requires an answer to the question of which state’s or states’ laws

  govern the claims to be tried, and which state law claims will be heard at trial.

          Plaintiffs’ proposal to postpone resolution of this important question until after the Court’s

  class certification ruling continues a pattern of ignoring the Court’s clear dictates regarding the

  scope of the TPP Trial. The Court has explained at each of the last three Case Management

  Conferences that the TPP Trial will not be a class trial. The Court was clear on this point at the

  most recent conference, stating: “It will be a single plaintiff. The problem is, of course, as has been

  noted by counsel, is the one-way intervention problem and now the class representative problem.

  So it's going to be a one-plaintiff trial, not a class trial that we do.” Aug. 24, 2022 CMC Tr. at

  19:2-6 (emphases added). See also id. at 24:7-11 (reiterating “[i]t’s going to be one plaintiff” and

  “we are just going to have one plaintiff” and stating that even if the Court grants class certification,

  the most it would entertain for the TPP Trial is a motion for “some kind of very limited sub, sub,
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  sub-class”). Nothing in the Court’s repeated statements regarding the TPP Trial, therefore,

  indicates that the class certification ruling will bear materially on the conduct of the TPP Trial,

  much less that the Court would consider expanding the TPP Trial into a multi-state TPP class trial

  under the laws of 22 states. Defendants respectfully submit the TPP Trial is on a separate track

  from the class certification question, and it behooves the Court and the parties to obtain guidance

  now on the state law governing the claims at the non-class TPP Trial.

         Accordingly, Defendants request the Court set a simultaneous briefing schedule to

  determine (1) which state’s or states’ laws govern the TPP Plaintiffs’ substantive claims, and (2)

  which of these state law claims will be heard and decided at the first TPP Trial, with simultaneous

  briefs on these issues due on October 27, 2022.

     4. Scope and Applicability of CMO 29

         At the most recent Case Management Conference, Plaintiffs asked the Court to set up

  staggered case management deadlines related to subsequent trials with respect to the Manufacturer

  Defendants—Mylan, Hetero, and Aurobindo—who are not party to the initial TPP trial. The Court

  rejected Plaintiffs’ request: “[t]he proposal about sequencing other trials after that trial I think is

  premature, we don't need to get into that. The trial that we are going to do, I think the plaintiff is

  correct, and I believe they indicate that the defendant has sort of bought into this too, it ought to

  involve ZHP and then the finished dose manufacturers.” (August 24, 2022 CMC Tr. 16:2-7.

  [emphasis added].)

         Notwithstanding this clear guidance from the Court, during a subsequent meet and confer

  to discuss case management issues related to the first trial, Plaintiffs adopted the contrary position
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  that the deadlines in CMO 29 pertained to all Manufacturer Defendants.2 Thereafter, Defendants

  wrote to the Court to confirm that Plaintiffs’ position did not reflect the Court’s intent and, indeed,

  would defy common sense given there have been no discussions regarding the parties, claims, and

  law to be involved in a second trial (ECF No. 2165.) Plaintiffs have now tacitly retreated from

  their original position that CMO 29 applies to all of the Manufacturer Defendants, stating in a letter

  to the Court that Plaintiffs are “sensitive to the fact that the first TPP trial will involve ZHP, Teva

  and Torrent, and not other Defendants,” and that Plaintiffs are therefore open to “staggered” case

  management deadlines. (ECF No. 2166.)

         Defendants oppose the establishment of additional case management deadlines at this time

  for two primary reasons. First, the Court has already indicated that it is premature to set deadlines

  for subsequent trials. Nothing has happened over the past month to indicate that the status quo has

  changed. Second, if and when the Court is inclined to revisit this issue, no case management

  schedule can be established for subsequent trials until the identity of the plaintiff(s)—and the

  governing law of any claims at issue—is set by the Court with respect to any such trial. Absent

  this basic, foundational information, Defendants cannot assess an appropriate case management

  schedule because the identity of the plaintiff(s), the type of trial, and the claims at issue, could

  drastically influence the scope of any supplemental fact and expert discovery necessary for trial.

  Indeed, the Court has stated in no uncertain terms that Defendants cannot and will not be forced

  to litigate so-called “liability” issues in a vacuum and without a fair opportunity to take discovery.

  Notably, it has taken the parties to the initial TPP trial months to reach agreement on these issues,



  2 All parties agree that the deadlines in CMO 29 do not apply to Retail Pharmacy or Wholesaler

  Defendants.
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  and as discussed above, that process remains ongoing. And unlike with respect to the initial trial,

  Defendants do not have any guidance as to what a subsequent trial would entail.

         The Court should reject Plaintiffs’ proposal, which essentially aims to establish deadlines

  first and then figure out to what case those deadlines will apply second. Accordingly, Defendants

  object to the establishment of a case management schedule as to any subsequent trial as premature,

  particularly insofar as the identity of the plaintiff(s) and the claims at issue in any such trial is

  unknown. Defendants respectfully request the Court’s guidance on this issue, and will be prepared

  to discuss it at the Conference later this week.

     5. Plaintiff Fact Sheet Deficiencies and Orders to Show Cause

  Cases Addressed at the August 24, 2022, Case Management Conference:

         The Court issued 12 show cause orders returnable at the October 6, 2022 Case Management

  Conference:

     1. Michael Shemes v. Aurobindo, et al. – 21-cv-20204
     2. Margaret Tolley v. Mylan Laboratories, et al. – 21-cv-10130
     3. Leona Branch v. Mylan, et al. – 22-cv-582
     4. Richard Vindigni v. Prinston, et al. – 21-cv-2361
     5. Robert Dais v. Mylan, et al. – 22-cv-518
     6. Elie Greene v. Aurobindo, et al. – 21-cv-3214
     7. Debra Stiles v. ZHP, et al. – 22-cv-01987
     8. Jim Smith v. ZHP, et al. – 22-cv-01245
     9. Walid Elganam v. ZHP, et al. – 22-cv-02873
     10. Richard Williams v. ZHP, et al. – 20-cv-20602
     11. Eric Thompson v. ZHP, et al. – 21-cv-19973
     12. Judith Ross v. ZHP, et al. – 22-cv-02387

         The issues in the Shemes, Tolley, Branch, Vindigni, Dais, Stiles, and Ross matters are

  resolved, and the show cause orders may be withdrawn.

         The issues in the Greene, Smith, and Thompson matters remain unresolved, but the parties

  are working towards a resolution and request a one-month extension of the order to show cause.
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              The issues in the Elganam and Williams matters remain unresolved, and Defendants

       request their dismissals.

       Second Listing Cases – Order to Show Cause Requested:

              Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are substantially

       incomplete and contain core deficiencies. Each of these cases were previously listed on the agenda

       for a prior CMC. This list was provided to Plaintiffs’ leadership on September 20, 2022, and a

       global meet and confer was held on September 23, 2022. Defendants have also been available for

       further discussion as needed. Accordingly, Defendants request that an Order to Show Cause be

       entered in each of these cases, returnable at the next case management conference, as to why these

       cases should not be dismissed.

              Defense counsel will be prepared to address the individual issues with respect to each of

       these cases, to the extent necessary, during the October 6, 2022 Case Management Conference:



           Plaintiff          Civil             Law Firm              Deficiencies                    Deficiency
                             Action                                                                   Sent
                              No.
1.      Benita King v.       22-cv-          Levin Papantonio            Need medical expenses        7/18/22
          ZHP et al           1628

2.        Estate of          22-cv-       Parafinczuk Wolf, P.A.       Multiple deficiencies; need    8/2/22
           Charles            4330                                           authorizations
        Bernhardt v.
       Walgreens, et al.
3.     Carrie Collins v.     19-cv-          Haffner Law PC           No PFS Filed                    7/27/22
         Aurobindo           16386
        Pharma, et al.
4.       Jacqueline          22-cv-            Nabers Law             No PFS Filed                    8/1/22
         Wallaert v.          1526
       Aurobindo, et al
     Case 1:19-md-02875-RMB-SAK            Document 2167         Filed 10/04/22       Page 16 of 17 PageID:
                                                 74891
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       First Listing Cases – Remaining Core Deficiencies:

              The following Plaintiff Fact Sheets contain core deficiencies which remain unresolved.

       This list was provided to Plaintiff leadership on September 20, 2022, and a global meet and confer

       was held on September 23, 2022. Defendants have also been available for further discussion as

       needed. This is the first time these cases have been listed on this agenda. Accordingly, Defendants

       are not requesting orders to show cause with respect to any of the below cases at this time and will

       continue to meet and confer to resolve these deficiencies.



           Plaintiff         Civil               Law Firm              Deficiencies                     Deficiency
                            Action                                                                      Sent
                             No.
1.      Estate of Rita      22-cv-        Parafinczuk Wolf, P.A.         Need authorizations; need      8/17/22
          Chikhi v.          4533                                         clarification of cancer
         Mylan, et al                                                       diagnosis sections

2.     Yvonne Baker v.      22-cv-        Parafinczuk Wolf, P.A.         Need authorizations; need      8/17/22
            Doe              4532                                         clarification of cancer
                                                                            diagnosis sections

3.     Carl Mirabile v.     22-cv-           Levin Papantonio               Need billing records        9/12/22
         ZHP, et al          4254

4.      Gracie Ellis v.     22-cv-           Levin Papantonio               Need billing records        9/12/22
         ZHP, et al          3382

5.     Rose McCarty v.      22-cv-              Nabers Law              Need billing expenses; need     9/15/22
         ZHP, et al          4164                                             authorizations

6.     Bobby Yount v.       22-cv-              Nabers Law              Need billing expenses; need     9/15/22
         ZHP, et al          4155                                             authorizations
     Case 1:19-md-02875-RMB-SAK          Document 2167        Filed 10/04/22      Page 17 of 17 PageID:
                                               74892
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7.     Robert Parker v.    22-cv-               Nabers Law             Need billing expenses; need   9/15/22
        Hetero, et al       4155                                             authorizations

8.     Howard Engel v.     22-cv-       Parafinczuk Wolf, P.A.         Missing medical records for   9/2/22
       Aurobindo, et al.    4536                                        all but one provider; lot
                                                                             numbers cut off

9.      Genita Johnson     20-cv-        Law Offices of Alvin                No PFS Filed            9/22/22
         v. ZHP, et al     20602              Pittman

10.     Anthony Long       21-cv-          Carlson Law Firm                  No PFS Filed            9/27/22
         v. ZHP, et al     13189




                                                   Respectfully submitted,


                                                   Clem C. Trischler

       c:     All counsel of record (via ECF)
